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        EXHIBIT B
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                                                                              Clark Hill PLC
                                                                              130 E. Randolph Street
                                                                              Suite 3900
                                                                              Chicago, IL   60601
R. Kevin Williams                                                             T 312.985.5900
T 312.985.5907                                                                F 312.985.5999
F 312.985.5590
Email: kwilliams@clarkhill.com                                                clarkhill.com



                                                  March 31, 2020

Via Overnight Courier

Port Director
U.S. Customs and Border Protection
10980 Interstate 29
Pembina, ND 58271

Attn: Ms. DeAnn O’Hara
      Fine, Penalties and Forfeitures Officer

            Re: ASHH, Inc. f/k/a OOZE, Inc.
                Case No. 2020-3604-000017-01

Dear Ms. O’Hara:

     We represent ASHH, Inc. f/k/a OOZE Inc (“ASHH”) of Oak Park, Michigan in this case.
ASHH is the owner and importer of the goods.
            The seized merchandise consists of the following goods:
                            Product Description                    Quantity
                                 Steamboat                          4,520
                                    Trip                            4,980
                                   Kettle                            160
                                  Bowser                            9,000
                                    Cryo                            9,920
                                  Slugger                           3,750
                               Saturn Grinder                       4,800
                                   Slack                            5,260

            These products were manufactured in China by Dongguan Deke Dianzi Co. Ltd..
       The seizure notice alleges that these products are drug paraphernalia, as defined in 21
U.S.C.A. § 863, and, as such, are subject to seizure and forfeitures under 19 USCA 1595a(c). We
submit that these products are not drug paraphernalia and thus the seizure should be cancelled,
and the goods released.



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